Case 1:03-cr-01368-ARR   Document 443   Filed 05/25/06   Page 1 of 12 PageID #: 1756
Case 1:03-cr-01368-ARR   Document 443   Filed 05/25/06   Page 2 of 12 PageID #: 1757
Case 1:03-cr-01368-ARR   Document 443   Filed 05/25/06   Page 3 of 12 PageID #: 1758
Case 1:03-cr-01368-ARR   Document 443   Filed 05/25/06   Page 4 of 12 PageID #: 1759
Case 1:03-cr-01368-ARR   Document 443   Filed 05/25/06   Page 5 of 12 PageID #: 1760
Case 1:03-cr-01368-ARR   Document 443   Filed 05/25/06   Page 6 of 12 PageID #: 1761
Case 1:03-cr-01368-ARR   Document 443   Filed 05/25/06   Page 7 of 12 PageID #: 1762
Case 1:03-cr-01368-ARR   Document 443   Filed 05/25/06   Page 8 of 12 PageID #: 1763
Case 1:03-cr-01368-ARR   Document 443   Filed 05/25/06   Page 9 of 12 PageID #: 1764
Case 1:03-cr-01368-ARR   Document 443 Filed 05/25/06   Page 10 of 12 PageID #:
                                    1765
Case 1:03-cr-01368-ARR   Document 443 Filed 05/25/06   Page 11 of 12 PageID #:
                                    1766
Case 1:03-cr-01368-ARR   Document 443 Filed 05/25/06   Page 12 of 12 PageID #:
                                    1767
